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                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA



              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION


UNITED STATES OF AMERICA )

v.                                      )     2:95-CR-0129-JHH-TMP

DONALD GENE SELLERS                     )



     MEMORANDUM OF OPINION REGARDING ORDER GRANTING
         MOTION FOR REDUCTION OF SENTENCE

        The movant, acting pro se, filed the above-styled motion, on April 2,

2008, asking that this court reduce his sentence pursuant to 18 U.S.C. § 3582

effective November 1, 2007 and made retroactive by USSG §1B1.10,

effective March 3, 2008. The court finds by separate order that the motion

for reduction of sentence should be GRANTED.

        In May 2007, the U. S. Sentencing Commission (U.S.S.C.) submitted a

group of proposed amendments to the Sentencing Guidelines as they have

done annually since 1987. One of these amendments, number 706,

represented the U.S.S.C.’s attempt to mitigate the sentencing disparity for

defendants convicted of crack cocaine offenses as opposed to powder cocaine

offenses. In the absence of congressional action to amend the 100:1 ratio

found in the Title 21 statutes, the U.S.S.C. proposed a method to reduce the

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potential sentences by lowering the applicable guidelines for quantities of

crack by two levels, thereby creating a ratio ranging from about 25:1 to about

80:1 within the Guidelines framework.

          All of the proposed amendments, including the crack amendment,

became effective on November 1, 2007.1 Then in December 2007, following

a period of public discussion, the U.S.S.C. decided to make the crack

amendment retroactive. The effective date for retroactive application of the

crack amendment became March 3, 2008. The U.S.S.C. also amended

Guideline § 1B1.10 to include the crack amendment (hereinafter referred to

as “the amended policy statement”). As such, as of March 3, 2008, the crack

amendment and amended policy statement apply to all relevant sentences, old

and new. All of this was done pursuant to the U.S.S.C.’s authority found at 28

U.S.C. § 994(u) and 18 U.S.C. § 3582(c).

          With that background, the court now turns to the current motion (Doc.

#1661) of Donald Gene Sellers to modify his term of imprisonment under 18

U.S.C. § 3582(c)(2). The motion seeks the benefit of the crack amendment



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     At this point, the crack amendment had no retroactive application.

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and the amended policy statement. The focus of the § 3582(c)(2) motion is

the 188-months sentence imposed upon movant under Count 2 which charges

24 persons with a long-running conspiracy under 21 U.S.C. § 846 to violate

21 U.S.C. § 841. The conspiracy was largely a “family business” utilizing a

number of persons outside the family to help market the cocaine base.

Although a relatively minor participant in a very serious and dangerous

enterprise (numerous defendants received lifetime sentences), the United

States dismissed him as a defendant in 16 of the 133 counts in this indictment

in exchange for a plea of guilty only to the Count 2 conspiracy charge.

Sellers was sentenced on April 9, 1996. At the time the movant was

sentenced, he, along with most of the other defendants under Count 2, was

attributed with conspiracy to possess with intent to distribute 1.5KG of

cocaine base (crack). The 1995 guidelines manual set the base offense level

for this amount of crack cocaine at level 38.

      The following chart sets forth the application of the crack amendment

to the instant case:




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                                Original Sentence            Retroactive
                                                              Sentence
                                                             Adjustment
    Total Offense                          35              32 with one level
       Level                                                  departure
  Criminal History                         III                    III
     Category
   Imprisonment                 210 - 262 months           151-188 months
      Range
     Departure                          one level          comparable one
                                                           level departure
 Sentence Imposed                  188 months                time-served

       Rule                               n/a                     n/a
   35(b)/Remand
     Designated
     Institution                 FPC Pensacola

    Institutional
    Adjustment
     Projected                      8/26/2009                immediately
    Release Date


      A review of the sentencing issues now confronting this court includes,

but is not limited to, the following:

      1.     the movant was originally sentenced to the bottom of the

      correctly-computed guidelines range 188 months (including a

      departure);

      2.     as computed in accordance with the amended guideline, the

      bottom of the range is 151 months;




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      3.     deferring to the Bureau of Prisons Designation and Computation

      Center, this court believes that by granting the movant’s motion for a

      reduction in his sentence, the movant’s projected release date could be

      immediately, thereby creating urgency in this court’s actions as well as

      those of the BOP; and

      4.      Neither BOP records pertaining to the movant’s institutional

      adjustment nor the content of his criminal history as reflected in the

      presentence report indicate that there are public safety issues raised by

      his release at an earlier date.

      Pursuant to U.S.S.G § 1B1.10 (b), this court finds that the movant is

eligible for consideration for a reduction in sentence pursuant to 18 U.S.C. §

3582(c)(2) and concludes that the crack amendment applies to the

circumstances of the movant. Furthermore, this court concludes that the

movant would have been sentenced at the low end of the offense level had the

crack amendment been in effect at that time.

      Therefore, in light of these considerations and after considering the

factors set forth in 18 U.S.C. § 3553(a), this court hereby finds that the

sentence in count two should be reduced to a term of time served. In so

doing, the court finds that the movant has not overserved the original

sentence, and, thereby, specifically retains all options for re-sentencing the

movant in the future event that he appears before this court pursuant to a

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petition for revocation of supervised release. The 60-months supervised

release term imposed at sentencing begins immediately upon movant’s

release from custody.

      The court further finds that the movant’s release from custody should

be stayed for a period of ten (10) days from the date of the order so that the

Bureau of Prisons can satisfy its statutory and regulatory requirements.

      A separate order will be entered.

      DONE this the     7th        day of April, 2008.




                          SENIOR UNITED STATES DISTRICT JUDGE




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